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      Fill in this information to identify the case:

                     Houtex Builders LLC
      Debtor name __________________________________________________________________
                                              Southern
      United States Bankruptcy Court for the: ______________________              Texas
                                                                     District of _________

      Case number (If known):   _________________________
                                                                              (State)
                                                                                                                                           Check if this is an
                                                                                                                                               amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                   12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete          Name, telephone number, and      Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code    email address of creditor        (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                            contact                          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                             professional          unliquidated,   total claim amount and deduction for value of
                                                                             services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                             government
                                                                             contracts)
                                                                                                                   Total claim, if    Deduction for       Unsecured
                                                                                                                   partially          value of            claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff
     Spirit of Texas Bank                              281-990-6800            Bank loan                                                                    $481,271.54
1
     625 University Dr E
     College Station, TX 77840

     Tax Assessor - Collector                          713-274-8000            Property tax        Unliquidated                                               $65,385.00
2
     P O Box 4622
     Houston, TX 77210-4622

     Tomball ISD                                       281-357-3100            Property tax        Unliquidated                                               $25,460.00
3
     P O Box 276
     Tomball, TX 77377

     Harris Montgomery Counties MUD #386               281-479-7796             Property tax       Unliquidated                                                $8,835.00
4
     822 West Pasadena Blvd
     Deer Park, TX 77536-5749

     The Woodlands Township                            281-210-3800             Property tax       Unliquidated                                                $4,370.00
5
     2801 Technology Forest Blvd
     The Woodlands, TX 77381

     Carlton Woods Creekside Assoc                     713-932-1122                     HOA                                                                    $4,350.00
6
     c/o First Service Residential
     5295 Hollister Rd
     Houston, TX 77040
     Carlton Woods Creekside Assoc                     713-932-1122                     HOA        Unliquidated                                                $2,900.00
7
     c/o First Service Residential
     5295 Hollister Rd
     Houston, TX 77040
     Tanglewood Homes Association                      713-781-1642                     HOA        Unliquidated                                                  $900.00
8
     5757 Woodway, Suite 160
     Houston, TX 77057




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                        Houtex Builders LLC
    Debtor       _______________________________________________________                          Case number (if known)_____________________________________
                 Name




     Name of creditor and complete            Name, telephone number, and   Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code      email address of creditor     (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                              contact                       debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                            professional           unliquidated,   total claim amount and deduction for value of
                                                                            services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                            government
                                                                            contracts)
                                                                                                                   Total claim, if    Deduction for       Unsecured
                                                                                                                   partially          value of            claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff

     Pablo Vargas                                    Unknown                    Trade debt                                                                       $200.00
9
     Unknown



     Scholl Lumber                                 713-329-5300                 Trade debt                                                                         $96.50
10
     6202 N Houston Rosslyn Road
     Houston, TX 77091

     Colin Magee                                  281-798-4734                  Trade debt                                                                         $75.00
11
     P O Box 27011
     Houston, TX 77227


12




13




14




15




16




17




18




19




20




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